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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG                                                  FI LED
UNITED STATES OF AMERICA,                                                                  AUG 182022
                                                                                      U.S. DISTRICT COURT.W~JND
               Plaintiff,                                                               CLARKSBURG WV 26301


V.                                                           Case No: l:22-CR-52
                                                             (JUDGE KLEEH)
LANCE KURETZA,

               Defendant.

                      ORDER SETTING CONDITIONS OF RELEASE

It is ORDERED that the defendant’s release is subject to these conditions.

(1)    The defendant must not violate federal, state or local law while on release.

(2)    The defendant must cooperate with the collection of a DNA sample if it is authorized by
42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in
writing before making any change of a residence or telephone number.

(4)     The defendant must appear in court as required and, if convicted, must surrender as directed
to serve a sentence that the court may impose.

       The defendant must appear at:          500 West Pike Street, Clarksburg, West Virginia
                                              (place)



                            /   (date and ttme)ç~           I  .   .

                       A ORDERED by the Magistrate or District Judge            ~
                                                                                    \~
(5)    The defendant must sign an Appearance Bond, if ordered.

                            ADDITIONAL CONDITIONS OF RELEASE

      IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions
marked below:

( ) (6)        The defendant is placed in the custody of:

               Person or organization_________________


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                 Address (only if above is an organization)_____________________________________________

                 City and State________________________ Tel. No._________________________

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance
at all court proceedings and (c) notif~i the court immediately if the defendant violates a condition
of release or is no longer in the custodian’s custody.

                                 Signed:_________________________________                ____________

                                 Custodian                                               Date


( ) (7)          The defendant shall:
        (x) (a) submit to supervision by and report for supervision to United States Probation, 320
West Pike Street, Clark burg, West Virginia, telephone 304-624-5504 no later than
   ~ t51)      ‘~~b&~   ~S~’)’ ~3 ~ ..≥.c~22_.-                         and anytime thereafter as
directed by the Probation Office.
        (x) (b) continue or actively seek employment.
        ( ) (c) continue or start an education program.
        (x) (d) surrender any passport to US Probation Office, Northern District of West Virginia.
        (x) (e) not obtain a passport or other international travel document.
        (x) (f) abide by the following restrictions on personal association, residence or travel: may
not travel outside of the Northern District of West Virginia without advance written approval from
United States Probation
                                             (other)
       (x) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim
or witness in the investigation or prosecution including: anyone who is named in the
indictment/information against you unless that person is your spouse, child, parent or sibling.
       ( ) (h) get medical or psychiatric treatment:__________________________________________
          ( ) (i) return to custody each          at
                                             __________              o’clock after being released at
                                                               _____________

               o’clock for employment, schooling, or the following purposes      ___________________




         ( ) (j) maintain residence at a halfway house or community corrections center, as the
pretrial services office or supervising officer considers necessary.
         (x) (k) not possess a firearm, destructive device, or other weapon.
         (x) (1) not consume alcohol.
         (x) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined
in 21 U.S.C. § 802, unless prescribed by a medical practitioner.
         (x) (n) submit to testing for a prohibited substance if required by the pretrial services office
or supervising officer. Testing may be used with random frequency and may include urine testing,
the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper
with the efficiency and accuracy of prohibited substance screening or testing.
         (x) (o) participate in a program of inpatient or outpatient substance abuse therapy and
counseling if directed by the pretrial services office or supervising officer.
         ( ) (p) participate in one of the following location restriction programs and comply with
its requirements as directed.

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                  ( ) (i) Curfew. You are restricted to your residence everyday from          ______  to
______  or as directed by the pretrial services office or supervising officer; or
                  ( ) (ii) Home Detention. You are restricted to your residence at all times except
for employment; education; religious services; medical, substance abuse, or mental health
treatment; attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or
                  ( ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at
your residence except for medical necessities and court appearances or other activities specifically
approved by the court.
         ( ) (q) submit to location monitoring as directed by the pretrial services office or
supervising officer and comply with all of the program requirements and instructions provided.
                  ( ) You must pay all or part of the cost of the program based on your ability to pay
as determined by the pretrial services office or supervising officer.
         (x) (r) report as soon as possible to the pretrial services office or supervising officer every
contact with law enforcement personnel, including arrests, questioning, or traffic stops.
         (x) (s) not purchase, possess or use any paraphernalia related to any controlled substance.
         (x) (t) not purchase, possess or consume any organic or synthetic intoxicants, including
bath salts, synthetic cannabinoids or other designer stimulants, and shall not frequent places that
sell or distribute synthetic cannabinoids or designer stimulants.
         (x) (u) not abuse prescription medication.
         (x) (v) shall be prohibited from possessing a potentially vicious/dangerous animal or
residing with anyone who possesses a potentially vicious animal. The Probation Officer has sole
authority to determine what animals are considered to be potentially vicious/dangerous.
         (x) (w) participate in a program of mental health counseling if directed by the pretrial
services office or supervising officer.

                         ADVICE OF PENALTIES AND SANCTIONS

         TO THE DEFENDANT:

         YOU ARE ADVISED OF THE FOLLOWNG PENALTIES AND SANCTIONS:

         Violating any of the foregoing conditions of release may result in the immediate issuance
of a warrant for your arrest, a revocation of your release, an order of detention, a forfeiture of any
bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense the punishment is an additional
prison term of not more than ten years and for a federal misdemeanor offense the punishment is
an additional prison term of not more than one year. This sentence will be consecutive (i.e., in
addition to) to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to:
obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate or attempt
to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.




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         If, after release, you knowingly fail to appear as the conditions of release require, or to
surrender to serve a sentence, you may be prosecuted for failing to appear or surrender and
additional punishment may be imposed. If you are convicted of:
         (1)      an offense punishable by death, life imprisonment, or imprisonment for a term of
fifteen years or more, you will be fined not more than $250,000 or imprisoned for not more than
10 years, or both;
         (2)      an offense punishable by imprisonment for a term of five years or more, but less
than fifteen years, you will be fined not more than $250,000 or imprisoned for not more than five
years, or both;
         (3)      any other felony, you will be fined not more than $250,000 or imprisoned not more
than two years, or both;
         (4)      a misdemeanor, you will be fined not more than $100,000 or imprisoned not more
than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender will be consecutive to
any other sentence you receive. In addition, a failure to appear or surrender may result in the
forfeiture of any bond posted.


                              Acknowledgment of the Defendant
        I acknowledge that I am the defendant in this case and that I am aware of the conditions of
release. I promise to obey all conditions of release, to appear as directed, and surrender to serve
any sentence imposed. I am aware of the penalties and sanctions set forth above.


                                                      Defendant ‘s Signature


                                                      City and State



                               Directions to the United States Marshal
~~ii~efendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the
clerk or judge that the defendant has posted bond          11       l with all other conditions for

release. If still in custody, the defendant must be                                     at the time
and place specified.

Date:   ~3    ~‘        22_~




DISTRIBUTION:      COURT    DEFENDANT       PRETRIAL SERVICE           U.S. ATTORNEY   U.S. MARSHAL




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